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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-428-MJP
                                          )
09          Plaintiff,                    )
                                          )
10          v.                            )
                                          )            DETENTION ORDER
11   J. ELIAZAR GONZALEZ-RAZURA           )
                                          )
12          Defendant.                    )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Heroin and Cocaine, Asset Forfeiture Allegation

15 Date of Detention Hearing:     January 9, 2007

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.     Defendant has been indicted, together with three co-conspirators, for conspiracy

22 to distribute heroin and cocaine. The maximum penalty of this offense is in excess of ten years.

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 There is therefore a rebuttable presumption against defendant as to both dangerousness and flight

02 risk, under 18 U.S. C. §3142(e).

03          2.      Defendant was not interviewed by Pretrial Services. He is believed to be a native

04 and citizen of Mexico. His past criminal history includes warrants for probation violation and

05 failures to appear. He has been involved in prior deportation proceedings, and was subject to

06 expeditious removal from the United States in 2004 for immigration fraud.

07          3.      Defendant is associated with other alias names, two F.B.I. numbers and two dates

08 of birth. There is no additional information available regarding his personal history, residence,

09 family ties, ties to this District, income, financial assets or liabilities, physical/mental health or

10 controlled substance use, if any.

11          4.      The defendant does not contest detention.

12          5.      Taken as a whole, the record does not effectively rebut the presumption that no

13 condition or combination of conditions will reasonably assure the appearance of the defendant as

14 required and the safety of the community.

15 It is therefore ORDERED:

16          (1)     Defendant shall be detained pending trial and committed to the custody of the

17                  Attorney General for confinement in a correction facility separate, to the extent

18                  practicable, from persons awaiting or serving sentences or being held in custody

19                  pending appeal;

20          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

21                  counsel;

22          (3)     On order of a court of the United States or on request of an attorney for the

     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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01                Government, the person in charge of the corrections facility in which defendant is

02                confined shall deliver the defendant to a United States Marshal for the purpose of

03                an appearance in connection with a court proceeding; and

04         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

05                counsel for the defendant, to the United States Marshal, and to the United States

06                Pretrial Services Officer.

07         DATED this 9th day of January, 2007.



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09                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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